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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                              CASE NO.

 UNITED STATES OF AMERICA,

                Plaintiff,
 V.

 1981 BEECH KING AIR 200
 FIXED-WING AIRCRAFT,
 SERIAL NO. BB-1017, WITH
 FAA REGISTRATION # N270BE,

                Defendant,
                                                I

                    VERIFIED COMPLAINT FOR FORFEITURE IN REM

        Plaintiff, United States of America, hereby files this civil complaint for forfeiture in rem

 and states as follows:

        1.      This is a civil action for forfeiture in rem of One 1981 Beach King Air, fixed wing

 aircraft, Serial # BB-1017, with FAA Registration# N270BE, (hereinafter "the defendant" or "the

 defendant aircraft"), seized by the Drug Enforcement Administration on June 22, 2018, at the Fort

 Lauderdale Executive Airport        for violations of Title 49, United States Code, Section

 46306(b )(3)(9), and (d)(2)(E).

        2.   This Court has jurisdiction over this action pursuant to Title 28, United States Code,

 Sections 1345 and 1355.

        3.      Venue is proper in the Southern District of Florida pursuant to Title 28, United

 States Code, Sections 1355(b)(l), and 1395(a) because the acts or omissions giving rise to the

 forfeiture occurred in, and the defendant was seized here in the Southern District of Florida.




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         4.      The defendant aircraft was seized on June 22, 2018, and is in custody of the US

 Marshals Service.


         5.      The defendant aircraft is forfeitable to the United States pursuant to Title 49, United

 States Code, Section 46306(d), as incorporated by Title 28, United States Code, Section 2461(a),

 which provides that the Administrator of DEA may seize and forfeit an aircraft whose use is related

 to a violation of subsection (b) of section 46306.

         6.      Specifically, the defendant aircraft is forfeitable pursuant to Title 49, United States

 Code, Section 46306(d)(2)(E) being in violation of Title 49, United States Code, Section

 46306(b)(9) predicated upon an unapproved Federal Aviation Administration ("FAA") Aircraft

 Fuel System in which the law presumes the aircraft fuel modification aids drug trafficking. Further

 the defendant aircraft is forfeitable pursuant to Title 49, United States Code, Section

 46306(d)(2)(C)(ii) predicated upon a violation of Title 49, United States Code, Section

 46306(b )(4) wherein the application form used to obtain the aircraft certificate of registration

 contains a material false statement.


                       FIRST CLAIM FOR FORFEITURE-DEFENDANT
                                     AIRCRAFT

                       Title 49, United States Code, Section 46306(b )(9)

                              Unapproved FAA Aircraft Fuel System

         7.      Title 49, United States Code, Section 46306, details the regulations involving

 aircraft not providing air transportation. [i.e. not a commercial air carrier].


         (b)    General Criminal Penalty-Except for provided by subsection (c) if this section, a
                person shall be fined under Title 18, imprisoned for not more than 3 years, or
                both, if the person-

                 (9)     Operates an aircraft with a fuel tank or fuel system that has been installed
                         or modified knowing that the tank, system, installation, or modification

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                         does not comply with regulations and requirements of the
                         Administrator of the Federal Aviation Administration.

        8.      Title 49, United States Code, Section 46306(d), authorizes the Drug Enforcement

 Administration and/or U.S. Customs and Border Protection to seize and forfeit an aircraft whose

 use is related to a violation of subsection (b) of this section or to aid or facilitate a violation,

 regardless of whether a person is charged with the violation.


                (d)(2) An aircraft's use is presumed to have been related to a violation of-(drug
                        trafficking)-

                         (E)    Subsection (b) (9) of this section if the aircraft has a fuel tank or a
                                fuel system that was installed or altered

                                (i)     In violation of a regulation or requirement of the
                                        administration of the Federal Aviati on Administration; or

                                (ii)    If a certificate required to be issued for installation or
                                        alteration is not carried on the aircraft. (emphasis added)


        9.      The FAA Drug Enforcement Assistance Act of 1988 was signed into law by the

 President on November 18, 1988. This legislation amended Section 103 of the Federal Aviation

 Act of 1958 (F AAct) to require the FAA to provide assistance to law enforcement agencies in the

 enforcement of the laws relating to the regulation of controlled substances, to the extent consistent

 with aviation safety.

         10.    This amended act also provides for significant civil and criminal penalties for the

 violation of Federal Avia ti on Regulations (FAR) dealing with the forgery of certificates, operating

 without a valid airman certificate, false markings on aircraft, aircraft registration matters, and

 unapproved aircraft fuel system modifications.




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                                FACTUAL BACKGROUND FOR FIRST CLAIM

          11.    DEA Special Agent Ryan Petrasek was contacted on or about May 22, 2018, by a

 DEA Confidential Source (CS) in reference to the defendant aircraft.       The CS stated that the

 aircraft contained an illegal modification. This modification was installed to extend the range of

 the aircraft so it could be utilized to transport drugs from South and Central America, with the

 ultimate destination of the United States without refueling.


          12.   On June 15, 2018, defendant aircraft operated from Guatemala City, Guatemala, to

 Fort Lauderdale Executive Airport (FXE). Upon arrival the defendant aircraft was detained by

 agents of the DEA pending an official inspection by the FAA.


          13.   On June 20, 2018, FAA Safety Inspector Kenneth Feist conducted a thorough

  inspection of the defendant aircraft. Safety Inspector Feist has worked for the FAA for 17 years

  and subject matter expert on aircraft maintenance.        Safety Inspector Feist discovered an

  unapproved fuel system which allowed fuel to be stored and distributed from the aircraft interior

  to the main fuel system.


          14.   The unapproved fuel modification consisted of a hydraulic oil hose, not a fuel hose,

  and a quick fuel disconnect style fitting, which is unapproved aircraft hardware. (see Exhibit A

  &B).


          15.   The quick release hose is designed to be used with a portable fuel tank which was

  not located on the plane. The hose was hidden in the side panel of the aircraft behind a removable

  seat.   The installation of the hidden hose was passed through a pressurized cabin into the

  pressurized fuel tank.




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          16.    Further Safety Inspector Feist stated that this type of unapproved fuel system poses

  serious safety risk because it is not compatible for use with aviation fuel as it was designed for

  hydraulic oil use only.


          17.    Safety Inspector Feist also reviewed the FAA Airworthiness file and determined

  that a FAA Form 33 7, Major Repair and Alteration was not on file as required by Federal Aviation

  Regulations (FAR).


          18.    FAA Inspector Feist is very experienced in inspecting aircraft and confirmed that

 the CS references to the defendant aircraft's unapproved fuel system modifications are utilized by

 drug traffickers.


          19.    The defendant aircraft is forfeitable pursuant to Title 49 , United States Code,

 Section 46306(d)(2)(E) predicated upon an Unapproved FAA Aircraft Fuel System in which the

 law presumes the aircraft fuel modification aids drug trafficking.


                SECOND CLAIM FOR FORFEITURE-DEFENDANT AIRCRAFT

                            Title 49, United States Code, Section 46306(b )(4)

                                     Registration of US. Aircraft

          20.    Various Federal statutes and regulations set forth the requirements for an aircraft to

 be properly registered with the FAA under Title 49, United States Code, Section 44103.

          21.    Title 49, United States Code, Section 44103(a)(l)(A) and (B) provides that on

 application of the owner of an aircraft that meets the requirements of section 44102, the

 Administrator of the FAA shall register the aircraft and issue a certificate of registration to its

 owner.




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         22.     Title 14, Code Federal Regulations, Section 47.43(a) states, in pertinent part:

                      (a) The registration of an aircraft is invalid if, at the time it is made-
                                (3) The applicant is not qualified to submit an application under
                                    this part; or
                                (4) The interest of the applicant in the aircraft was created
                                     by a transaction that was not entered into in good faith,
                                     but rather was made to avoid (with or without the
                                    owner's knowledge) compliance with 49 U.S.C. 44101-
                                    44104.

         23 .    In addition, Title 14,C.F.R. §91.203(a)(2) provides, in pertinent part, that

 no person may operate a civil aircraft unless it has within it "[a]n effective U.S .

 registration certificate issued to its owner, ... , or a registration certificate issued under

 the laws of a foreign country."

                 FACTUALBACKGROUND FOR SECOND CLAIM

         24.     The United States incorporates and re-alleges paragraphs 1 through 23 above,

  as if fully set forth , herein.


         25 .    On January 18, 2018, the defendant aircraft, was purchased by Three Hundred Sixty

 Degrees LLC, 200 W. Wilson Ave Unit 2203, Glendale, CA 91203 .           On March 9, 2018, FAA

 received the registration application where Manuel Melendez signed as the Manager of Three

 Hundred Sixty Degrees LLC.


         26.     On June 8, 2018, FAA records revealed that the defendant aircraft was registered

 to a U.S. Corporation, Three Hundred Sixty Degrees LLC, 200 W. Wilson Ave, Unit 2203 ,

 Glendale, CA. Manuel Melendez, signed as the Manager of the corporation.


         27.     On June 20, 2018, Special Agent Ryan Petrasek contacted the Manuel Melendez

 who stated that he had registered the aircraft on behalf of a confidential client whose name he



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 would not release.     Manuel Melendez stated he did not own the aircraft and signed a DEA

 Voluntary Disclaimer of Ownership of Currency or Property. (see Exhibit C).


         28 .   The CS further advised Special Agent Ryan Petrasek that he/she knew that

  defendant aircraft was owned by Luis Pedro Chang. The CS explained that the defendant aircraft

  was registered to a shell U.S. Corporation to hide the true ownership of the aircraft.


        29.     Luis Pedro Chang is a citizen of Guatemala and is a pilot by trade. Luis Chang as

 a Guatemalan citizen is ineligible to register a U.S. Aircraft as a U.S. Corporation or a U.S. Citizen.

 Chang currently resides at 11 Calle 0-48, Zona 10, Segunda Nivel, Guatemala City Guatemala.


        30.     On June 14, 2018, witnesses observed Lewis Pedro Chang watching DEA Agents

 inspecting the defendant aircraft pre-seizure. Chang made statements to witnesses that he believed

 he was going to be arrested and fled the airport area without contacting the DEA or identifying

 himself as the aircraft owner.


        31.     The defendant aircraft is forfeitable pursuant to Title 49, United States Code,

 Section 46306(d)(2)(C)(ii) predicated upon the application form that was used to obtain the

 aircraft certificate of registration contains a material false statement.


        WHEREFORE , Plaintiff, United States of America requests, that any and all persons

 having any claim to the defendant aircraft be directed to file and serve their verified claims and

 answers as required by Rule G(5), of the Supplemental Rules for Certain Admiralty and Maritime

 Claims, or suffer default thereof, and further requests that the Court declare the defendant property

 condemned and forfeit to the United States of America, and that Plaintiff have such other and

 further relief as may be just and proper.



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                                                       Respectively submitted,




                                                BY:
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                                                       BENJAMIN G. GREENBERG



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                                          VERIFICATION

   Pursuant to Title 28 United States Code, Section 1746, I declare under penalty of perjury that, I,

   Ryan Petrasek the DEA case agent in this matter, have read the foregoing Second Amended

   Complaint for Forfeiture In Rem and state that the contents are true to be best of my knowledge

   and belief.




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